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Authority (hereinafter defined) for any, such vault, space or area used or occupied by Tenant. .

Article 3. Use: Rules and Regulations; Tenant Operations: Signs

Section 3,1 Tenant shall use the Premises only for the Permitted Use, subject,
however, to the provisions of this lease. ‘Tenant, at its sole cost and expense, shall acquire any
and all permits, licenses, certificates and approvals requited by Laws for the Permitted Use and
the conduct of Tenant’s operations in the Premises. Tenant shall store in the Premises only items
necessary for the Permitted Use of the Premises, and shall use commercially reasonable efforts to
minimize the areas used for storage.

Section 3.2 Tenant shall not use the Premises, ot any part thereof, in violation
of the certificate of occupancy, annexed hereto as Exhibit C, for the Premises or the Building.
Landlord represents that the first floor of the Premises have a certificate of occupancy for a day
care center.

Section 3.3 Tenant shail, and shall cause its employees, contractors, and
invitees to, comply with the rules and regulations annexed hereto as Exhibit E and such
reasonable changes therein (whether by modification, restatement, elimination or addition) as
Landlord may make at any time or times hereafter and communicate to Tenant (the “Rules”).
Landlord is not required to enforce the Rules against Tenant or any other tenant or occupant,
their employees, contractors or invitees, and Landlord shall not be liable to Tenant for any
violation of the Rules by another tenant or occupant or any of their employees, contractors or
invitees. Landlord’s failure to enforce the Rules against Tenant or any other occupant of the
Building shall not be considered a waiver of the Rules, provided that the Rules shall not be
enforced in a discriminatory manner.

Section 3.4 The continuous operation of Tenant’s business in the Premises is
of material importance to Landlord because of the adverse impact on the Building of vacant
retail space. Tenant shall cause its business to be fully stocked and staffed, and open
continuously for business at the Premises at least 8 hours a day, and at least 5 days a week
excluding days observed as holidays by the Federal government, and/or other religious or
cultural holidays. In no event shall Tenant operate its business between the hours of 8pm and
Sam. Notwithstanding the foregoing, Tenant may be temporarily closed for not more than thirty
(30) consecutive days no more frequently than as necessary in order to refurbish Tenant’s Work
(hereinafter defined), and in connection with a transfer of the Premises to a permitted subtenant
or assignee. Tenant shall not be deemed to have abandoned or vacated the Premises as a result of
any closure contemplated by the preceding sentence.

Section 3.5 Tenant shall, at its expense: (a) keep the inside and outside of all
glass in the doors and windows of the Premises clean and keep all exterior store surfaces of the
Premises clean; (b) replace promptly any cracked or broken glass of the Premises with glass of
like color, grade, and quality; (c) maintain the Premises ina clean, orderly and sanitary condition
and free of insects, rodents, vermin and other pests and shall arrange for extermination at regular
intervals, not less frequently than monthly and more often as necessary; (d) keep any garbage,
trash, rubbish or other refuse in vermin-proof containers within the interior of the Premises that
are kept closed until removed; (e) deposit such garbage, trash, rubbish and refuse, on a daily
basis, in receptacles provided or required by the carter engaged by Tenant pursuant to the terms
of this lease; (f) remove from the Premises all rubbish resulting from and/or remaining after any

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fire or other similar casualty in the Premises; (g) keep all mechanical apparatus and equipment
free of vibration and noise which may be transmitted beyond the Premises; (h) keep in the -
Premises and maintain in good working order one or more dry chemical fire extinguishers; (i)
conduct its business at the Premises in a dignified manner in accordance with high standards of
retail operation; (j) prevent any odors or any noise from transmitting beyond the Premises; and
(k) keep the sidewalk free of rubbish, garbage, trash, debris, snow and ice.

Section 3.6 Tenant shall not (a) place or maintain any merchandise, show
cases, tables for service, trash, refuse or other items in any vestibule or entry of the Premises.
Tenant may place show cases and tables on the walkways, sidewalks or elsewhere outside the
Premises periodically on occasion for the purpose of recruitment and marketing, provided that
same does not impede the flow of foot traffic and is done with all necessary permits (b)
obstruct, or permit its employees, contractors, customers or invitees to obstruct, any driveway,
walicway, sidewalk, parking area, or other Common Areas (hereinafter defined); (c) use or
permit the use of any advertising medium objectionable to Landlord (such as, without limitation,
loudspeakers, phonographs, public address systems, sound amplifiers, reception of radio or
television broadcasts within the Building) which is in any manner audible or visible outside of
the Premises; (d) permit undue accumulations of or burn garbage, trash, rubbish or other refuse
within or without the Premises; (¢) cause or permit odors or fumes to emanate from the Premises;
(f) solicit business in any Common Areas, including without limitation through distribution of
handbills or other advertising matter in any Common Areas or the display of any merchandise in
the Common Areas,; (g) receive or ship articles of any kind outside the designated loading areas,
if any, for the Premises; (h) conduct or permit to be conducted any auction, fire sale (except to
liquidate inventory in response to an actual fire and only if such sale is not conducted for more
than forty-five (45) days), going out of business sale (except, one time only, to liquidate
inventory at the end of the term of this lease and only if such sale is not conducted for more than
forty-five (45) days), bankruptcy sale (unless directed by court order), or other similar type sale
in or connected with the Premises (but this provision is not intended to limit Tenant’s freedom in
setting its own selling prices); (i) use the Premises for any activity that is not generally
considered appropriate for child day cares conducted in accordance with good and generally
accepted standards of operation; (j) use the Premises for any hazardous activity or in such
manner as to constitute a nuisance of any kind (public or private); (k)} cause waste; (1) do
anything which, in Landlord’s reasonable judgment, disturbs other occupants of the Building; or
(m) permit its employees, invitees or deliverymen to loiter immediately outside the Premises or
the Building or within the Common Areas or to park cars in the Common Areas with ‘For Sale”
signs (or signs of similar import) on them,

Section 3.7 Tenant acknowledges that Landlord intends the Premises in the
Building to be operated in a manner that does not offend the community that it serves. -
Accordingly, Tenant shall not use the Premises for any immoral or disreputable use or activity or
for any use that is objectionable to the community in which the Premises are located; and Tenant
shall not sell, distribute, display, advertise or offer for sale at the Premises any item or service
which, in Landlord’s good faith judgment, may tend to injure or detract from the image of the
Building within such community or that results in any picketing or protests. Without limiting the
generality of the foregoing, Tenant shall not sell, distribute, display or offer for sale (a) any drug
paraphernalia, (b) any pornographic, lewd, suggestive, or “adult” newspaper, book, magazine,
film, picture, recording, representation or merchandise of any kind, (c) any counterfeit goods or
(d) any gun(s).
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Section 3.8 The term “Sign” includes all signs, designs, monuments, logos,
banners, projected images, awnings, canopies, pennants, decals, advertisements, pictures,
notices, lettering, numerals, graphics, and decorations. No Sign shall be exhibited, installed,
inscribed, painted or affixed, without the prior consent of Landlord, on any part of the outside of
the Building or on the windows or doors of the Premises,; except that Landlord’s consent shall
not be required for any replacement of existing sign (with a sign of like kind) or a Sign placed
inside the windows or doors of the Premises if such Signs are attractive and professionally
produced and do not violate any other provisions of this lease. Notwithstanding the foregoing, no
neon Signs or blinking or flashing Signs are permitted. Unless othcrwise expressly permitted,
Tenant may not install Signs.advertising a fire sale, liquidation sale, distress sale, foreclosure
sale, receiver’s or sheriff's sale, going out of business sale, lost lease sale, or Signs of similar
import. Tenant shall, at its own expense, obtain all required licenses and permits for any Signs
installed by Tenant, and renew them as required by applicable Laws, Al! Sign(s) shall be
installed and removed in a good and workerlike manner, without damaging the Real Property, -
and in compliance with all applicable Laws and the applicable provisions of this lease. Prior to
installing any permitted Sign, Tenant shall deliver to Landlord any permits or approvals required
by applicable Laws in connection with such installation.

Tenant shall maintain any permitted Signs in good, clean, neat and safe condition, and at the
expiration or sooner termination of this lease, Tenant shall cause such Signs to be removed and
cause the cancellation of any issued licenses or permits. Tenant shall not change or alter any
Sign approved by Landlord in any respect whatsoever, without first obtaining Landlord’s prior
consent to such change or alteration. After 10 days prior notice to Tenant, Landlord may
remove any Sign(s) installed or maintained in violation of this Article, and Tenant shall
reimburse Landlord for all costs incurred by Landlord in so removing any such Sign promptly
after being billed therefor. In addition, Landlord may, from time to time, temporarily remove
any Sign in conection with any repairs, improvements, alterations, additions or replacements
being made to the Real Property.

- Article 4. Condition of the Premises; Landlord’s Work -

Section 4.1 | Tenant has examined the Premises and, subject to Landlord
performing Landlord’s Work, if any, (a) Tenant accepts possession of the Premises in its “AS
IS” condition on the date of this lease, subject to normal wear and tear and the removal of
substantially all of the existing occupant’s personal property, if any, and (b) Landlord has no
obligation to perform any work, supply any materials, incur any expenses or make any
installations to prepare the Premises for Tenant’s occupancy.

Section 4.2 If any Landlord’s Work is specified in Article 1 and the Exhibit
referred to therein, Landlord shall, at its expense, perform Landlord’s Work, in accordance with, -
and subject to, the applicable provisions of this lease. Tenant shall not impede, delay, obstruct or
interfere with, Landlord’s performance of any and all of Landlord’s Work.

Article 5. Tenant’s Work

Section 5,1 Except as may be expressly provided in this lease, Tenant shall not replace any fixtures in the
Premises or make any changes, improvements, alterations or additions (collectively, “Tenant’s Work”) to the
Premises, the Real Property, the Building systems, or any part thereof, without Landlord’s prior consent.
Landlord’s consent shall not be unreasonably withheld or delayed if Tenant’s Work (a) is nonstructural, and (b)
does not (i) affect any part of the Real Property outside the Premises (including the Building roof) or the exterior of
the Premises, (ii) affect any structural element of the Building, (iii) adversely affect any Building system, or (iv)

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require an amendment of the certificate of occupancy for the Premises or the Building, ( c) is not visible outside the
Premises and (d) is performed only by contractors and subcontractors first approved by Landlord (which approval
shall not be unreasonably withheld or delayed), Landlord’s consent shall not be required with respect to such of
Tenant’s Work as are cosmetic alterations (such as painting the interior of the Premises, carpeting, and installation
of shelving and display cases) inside the Premises (“Cosmetic Alterations”), provided Tenant complies with the
other applicable provisions of this lease. Tenant’s Work shall be performed, at Tenant’s expense, with diligence
when started so as to promptly complete it in a good and worker-like manner using new materials of first class
quality and in compliance with this lease, all Laws and Tenant’s Plans (as defined in Section 5.2) as approved by
Landlord,-As part of Tenant’s Work, install appropriate portable ventilation if required so that Tenant’s use of the
Premises shall not result in odors being transmitted outside the Premises. Tenant’s Work shall be fully paid for by
Tenant when payment is due and shail not be financed with any conditional sales or title retention agreements or by
the granting of any security interests, liens, encumbrances or financing statements. Tenant’s Work shall be deemed,
upon installation, fo be improvements and betterments that become the property of Landlord at installation, and
shall remain upon and be surrendered with the Premises, at the expiration of the Term (or the sooner termination of
this lease in accordance with its provisions) unless Landlord notifies Tenant in accordance with the provisions of
this Article that Landlord relinquishes its rights thereto, in which case Tenant shall be obligated to remove such
Tenant’s: Work.

Section 5.2 Prior to commencing any Tenant’s Work other than purely
Cosmetic Alterations, Tenant shall, at Tenant’s expense, deliver to Landlord detailed plans and
specifications, for Tenant’s Work, in form reasonably satisfactory to Landlord, prepared,
certified, signed and sealed by an architect or engineer licensed to practice in the State of New
York, and suitable for filing with the applicable Authority, if filing is required by applicable
Laws (such plans and specifications together with revisions thereto, collectively, “Tenant’s
Plans”), and obtain Landlord’s approval of Tenant’s Plans. Landlord’s approval of Tenant’s
Plans shall not be unreasonably withheld or delayed to the extent Landlord’s consent to Tenant’s
Work shown on Tenant’s Plans is not to be unreasonably withheld or delayed pursuant to this
Article. Before commencing Tenant’s Work, Tenant shall (a) obtain (and deliver to Landlord
copies of) all required permits and authorizations of any Authority for such work, and (b)
intentionally omitted (c) deliver to Landlord certificates (in form reasonably acceptable to
Landlord) evidencing the following insurance coverages from each contractor and
subcontractor: (i) worker’s compensation insurance covering all persons to be employed in the
performance of any Tenant’s Work, and
(ii) commercial general liability insurance on a primary and non-contributory basis with a limit
of liability approved by Landiord, and with contractual liability coverage, naming Landlord,
Landiord’s managing agent, if any, any Superior Landlord (hereinafter defined) and any
Mortgagee (hereinafter defined) as additional insureds, and (iii) comprehensive automobile
liability insurance (covering all owned, non-owned and/or hired motor vehicles to be used in
connection with Tenant’s Work) with a limit of liability approved by Landlord and (iv) builders
risk insurance for the full value of the Tenant's Work performed by such contractor and
subcontractor.

Section 5.3. Tenant shall reimburse Landlord, within fifteen (15) days of being
billed therefore, for any reasonable out-of-pocket expenses incurred by Landlord in connection
with Landlord’s review of Tenant’s Plans and inspection of Tenant’s Work, including outside
experts retained by Landlord for that purpose, Landlord’s consent to Tenant’s Work and
Landlord’s approval of Tenant’s Plans shall be without liability to or recourse against Landlord,
shall not release Tenant from its obligations to comply strictly with the provisions of this lease,
and shall not constitute any representation or warranty by Landlord regarding the adequacy for
any purpose of Tenant’s Work or Tenant’s Plans or their compliance with Laws, and shall not
relieve Tenant from obtaining Landlord’s express written approval to revisions thereto, Promptly

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after substantial completion of Tenant’s Work, but in no event later than six (6) months after the
commencement of such work, Tenant shall, at Tenant’s expense, obtain and deliver to Landlord
copies of all sign-offs, letters of completion, approvals and certificates of any

' Authority required upon the completion of Tenant’s Work (including any required amendments —
to the certificate of occupancy for the Premises and/or Building) and “as-built” plans and
specifications for Tenarit’s Work prepared as reasonably required by Landlord.

Section 5.4 If, in corinection with Tenant’s Work or any other act or omission
of Tenant or Tenant’s employees, agents or contractors, a mechanic’s lien, financing statement or
other lien or violation of any Laws, is filed against Landlord or all or any part of the Real
Property, Tenant shall, at Tenant’s expense, have such lien removed by bonding or otherwise .
within thirty (30) days after Tenant receives notice of the filing,

Section 5.5 All construction managers, contractors and subcontractors
performing work for which a license is required by applicable Laws, shall be licensed by the
appropriate Authorities and approved by Landlord, which approval shall not be unreasonably
withheld or delayed. Landlord’s approval of such construction managers, contractors and
subcontractors shall be without liability to or recourse against Landlord, shall not release Tenant
from its obligations to comply strictly with the provisions of this lease, shall not constitute any
warranty by Landlord regarding the adequacy, professionalism, competence or experience of the
approved construction manager, contractor, or subcontractor, and shail not relieve Tenant from
obtaining Landlord’s express prior written approval if Tenant seeks to employ any other or
additional construction manager, contractor or subcontractor. Promptly following substantial
completion of Tenant’s Work, but in no event later than six (6) months after the commencement
of such work, Tenant shall furnish to Landlord lien waivers and releases, in form reasonably
satisfactory to Landlord, from all construction managers, contractors, subcontractors, and
materialmen furnishing work, services or materials in connection with Tenant’s Work.

Section 5.6 Tenant shall require all its contractors and their subcontractors to»
work in harmony with other laborers working or providing services at the Real Property, and will
prohibit the employment of people whose employment causes other laborers at the Real Property
to picket or strike. Immediately after notice from Landlord that Tenant’s contractors, mechanics
or laborers are interfering or causing conflict with other contractors, mechanics, laborers or
Landlord’s personnel or that the performance of Tenant’s Work is causing a violation of any
union contract affecting the Real Property, Tenant shall cause all its contractors, mechanics or
laborers who are causing the interference or conflict to leave the Real Property and shall take
such other action as may be reasonably necessary to resolve such interference or conflict.

Section 5.7 At Tenant’s request, Landlord shall join in any applications for any
authorizations required from any Authority in connection with Tenant’s Work to which Landlord
has consented, and otherwise cooperate with Tenant in connection with Tenant’s Work, but
Landlord shall not be obligated to incur any expense or obligation i in connection with any such
applications or cooperation.

Section 3.8 Tenant shall not place a load on any floor of the Premises
exceeding the floor load per square foot which the floor was designed to carry and which is
allowed by any Laws.

Section 5.9 Tenant shall be liable for any damage caused to any part of
the Building, including its fixtures and equipment, arising from, or as a result of, Tenant's
Work and/or its installation and/or removal of its Signs. If Tenant performs with

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